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                        EXHIBIT E
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA
                                                 Case No. 24-cr-542 (AS)
        v.
                                                 SUBPOENA DUCES TECUM
 SEAN COMBS,

               Defendant.


To:
      Cable News Network, Inc. d/b/a CNN
      30 Hudson Yards
      New York, NY 10001

YOU ARE COMMANDED to produce: all copies (edited and unedited) of the video
surveillance footage recorded at the Intercontinental Hotel in Century City, California on March
5, 2016 depicting Sean Combs and a woman in a dark colored ‘hoodie’ (the identity of whom is
known to counsel but is not being revealed in this subpoena).

       The video(s) shall be produced by email to the following address:

              Teny Geragos
              teny@agilawgroup.com

Said video(s) shall be produced on or before February 4, 2025.




                                            Hon. Arun Subramanian
